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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Fernando Gastelum,                                No. CV-17-03235-PHX-DJH
10                  Plaintiff,                         ORDER
11   v.
12   H&A Group LLC,
13                  Defendant.
14
15            On July 18, 2018, Plaintiff filed a Notice of Suspension and Request for Stay
16   Pending Retainer of New Counsel (Doc. 16), wherein he informs the Court that his
17   counsel’s law license has been suspended on an interim basis and thus counsel can no
18   longer appear on his behalf. (Id.) Plaintiff therefore requests that the Court “stay this
19   proceeding for a period of sufficient duration for plaintiff to find and engage new
20   counsel.” (Id.) No response has been filed. Over three months have passed since
21   Plaintiff filed his motion and no newly engaged counsel has appeared on behalf of
22   Plaintiff. The Court will not indefinitely stay these proceedings.
23            IT IS ORDERED that no later than November 2, 2018, Plaintiff must either have
24   his substitute counsel file a notice of appearance, or Plaintiff must advise the Court of his
25   address and phone number if he decides to appear pro se. If by November 2, 2018,
26   Plaintiff does not notify the Court that he has elected to proceed pro se by providing his
27   contact information and if Plaintiff does not have counsel who can continue his
28   representation, the Clerk of Court is kindly directed to terminate any pending motions
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 1   and dismiss this case without prejudice, without further order of the Court. Plaintiff’s
 2   Request for a Stay Pending Retainer of New Counsel (Doc. 16) is thus denied except for
 3   the limited relief provided herein.
 4          Dated this 23rd day of October, 2018.
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 7                                                  Honorable Diane J. Humetewa
 8                                                  United States District Judge

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